                                                       U.S. Department of Justice
[Type text]
                                                       United States Attorney
   Septe                                               Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                         July 14, 2020

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

        The Government writes in response to the Court’s July 8, 2020 order. The Government
confirms, as stated in the defendant’s July 13, 2020 letter (Dkt. 360 at 1, 3), that it does not object
to the Court relying on Federal Rule of Criminal Procedure 33 as the procedural basis for vacatur
of the jury’s verdict. As discussed in the Government’s prior submissions, the Government does
not concede any of the specific arguments advanced by the defendant in support of its Rule 33
motion and does not believe any of the attorneys assigned to this case acted in bad faith or
intentionally withheld exculpatory information. See Dkt. 354, 356. However, the Government
consents to the Court granting the defendant’s Rule 33 motion to vacate the verdict prior to or in
connection with the issuance of the nolle order. The Government agrees with the defense that the
Court need not determine bad faith or hold an evidentiary hearing to vacate the verdict under Rule
33 or grant dismissal under Rule 48(a). See Dkt. 360 at 5-6.

                                                         Respectfully submitted,
                                                         AUDREY STRAUSS
                                                         Acting United States Attorney

                                                   By:          /s/
                                                         Emil J. Bove III / Shawn G. Crowley
                                                         Assistant United States Attorneys
                                                         (212) 637-2444 / 1034

cc: Defense Counsel (by ECF)
